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  DISTRICT COURT, BOULDER COUNTY, COLORADO                     DATE FILED
  1777 Sixth Street                                            April 28, 2025 4:02 PM
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  PO Box 4249                                                  CASE NUMBER: 2025CV30351
  Boulder, CO 80302
  (303) 441-3750

  ZOCALO CONSTRUCTION, LLC, a Colorado limited
  liability company,                                               ▲ COURT USE ONLY ▲


            Plaintiff,

  v.

  FRANKENMUTH MUTUAL INSURANCE COMPANY,
  a Michigan corporation,

            Defendant.
  Attorneys for Plaintiff Zocalo Construction, LLC:
  Ryan M. Sugden, Atty. Reg. No. 49499                          Case No.:
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                                  COMPLAINT AND JURY DEMAND


        Plaintiff Zocalo Construction, LLC (“Plaintiff” or “Zocalo”), for its complaint against
  Defendant Frankenmuth Mutual Insurance Company, states and alleges as follows.

                                        INTRODUCTION

          1.      This action is about a surety, Defendant Frankenmuth Mutual Insurance Company
  ("Frankenmuth") seeking to avoid its liability under performance and payment bonds. Plaintiff,
  acting as the general contractor and affiliated company of the developer and Owner (“Owner” of
  the bonds), contracted with a steel subcontractor, Steel Huggers, LLC (“Steel Huggers”) to
  perform structural work as part of a large development project in Boulder known as Weathervane
  (the “Project”). As required by the subcontract, Steel Huggers executed performance and payment
  bonds with Frankenmuth acting as surety and naming Plaintiff as a third-party beneficiary, which

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  guaranteed Steel Huggers’ performance. However, Steel Huggers ultimately failed to perform
  under the subcontract as a result of defective and incomplete work. Steel Huggers also
  misappropriated funds paid to it by Plaintiff and, ultimately, filed for bankruptcy while the Project
  was still ongoing. Despite issuing performance and payment bonds, Frankenmuth ignored and
  unreasonably delayed responding to Plaintiff’s concerns about Steel Huggers’ performance. As a
  result, Plaintiff was forced to replace Steel Huggers on the Project, and complete the work with a
  different subcontractor.

          2.     After Plaintiff submitted a valid claim with complete documentary support,
  Frankenmuth delayed and/or denied Plaintiff’s more than $600,000 claim based on Plaintiff’s
  alleged failure to provide “reasonable notice” of Steel Huggers’ termination from the Project.
  However, Plaintiff provided such notice on multiple occasions. Even more problematic, the
  “reasonable notice” contract term that Frankenmuth relied upon to delay and deny coverage comes
  from the wrong contract. The correct performance and payment bond contracts require
  Frankenmuth to show that it did not receive proper notice and show actual prejudice from the lack
  of notice. However, even after it was brought to Frankenmuth’s attention that it was relying on the
  terms of the wrong contract, Frankenmuth continued to deny and/or delay Plaintiff’s claim without
  a showing or explanation for how Frankenmuth was “actually prejudice[d]” by any alleged lack of
  notice. Frankenmuth continues to delay and deny Plaintiff’s claim in breach of its contract and in
  bad faith.

        3.     Pursuant to Transamerica Premier Ins. Co. v. Brighton Sch. Dist. 27J, 940 P.2d
  348 (Colo. 1997), sureties can be held liable for a common law bad faith breach of a surety
  agreement. Additionally, pursuant to C.R.S. § 10-3-1102(2), the provisions of Colorado’s Unfair
  Competition – Deceptive Practices Act apply to surety contracts. S ee also Riccatone v. Colorado
  Choice Health Plans, 315 P.3d 203, 210 (Colo. App. 2013) (holding C.R.S. § 10-3-1115 applies to parties
  who can be subject to common law bad faith breach of an insurance contract). Frankenmuth has
  unreasonably delayed and denied payment of a covered benefit without a reasonable basis. C.R.S.
  § 10-3-1115. Accordingly, Plaintiff is entitled to the amount of its covered benefit plus two times
  the covered benefit Frankenmuth has unreasonably delayed and denied along with Plaintiff’s
  reasonable attorneys’ fees and costs under C.R.S. § 10-3-1116.

                                               PARTIES

         4.      Plaintiff Zocalo Construction, LLC is a Colorado limited liability company with its
  principal place of business at 455 Sherman Street, Suite 205, Denver, Colorado 80203.

          5.      Defendant Frankenmuth Mutual Insurance Company is a Michigan corporation
  with its principal place of business at 1 Mutual Avenue, Frankenmuth, Michigan 48787.




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                                  VENUE AND JURISDICTION

          6.     This Court has jurisdiction over the action pursuant to C.R.S. § 13-1-124(1)(d)
  because the causes of action arise from a contract to insure a risk located within this state at the
  time of contracting.

          7.    Venue is proper under Colo. R. Civ. P. 98(c) because the Performance Bond was
  to be performed in Boulder, County, the location of the Project.

                                    FACTUAL ALLEGATIONS

  The Project and the Default

         8.     Zocalo is the general contractor of a large commercial development known as
  Weathervane located in Boulder, Colorado (the “Project”). Zocalo, signed a contract with the
  property owner, developer and a syndicate of over 85 partners in the development of the Project,
  and was obligated to perform under said contract.

          9.      As part of the Project, Zocalo hired subcontractor Steel Huggers to perform the
  structural steel and other miscellaneous metal work in May 2022. The subcontract required Steel
  Huggers to complete the scope of work free of defects, in a workmanlike manner, and to pay all
  costs of performing the subcontract.

         10.     As a way to ensure Steel Huggers performance under the subcontract, Zocalo
  required Steel Huggers to obtain performance and payment bonds and name Zocalo as a third-
  party beneficiary.

         11.    Steel Huggers obtained performance and payment bonds, bond number
  SUR0003597, in the amount of $2,077,322 with Defendant Frankenmuth on May 12, 2022 for
  Zocalo’s benefit (the “Performance Bond”). A true and correct copy of the same is attached as
  Exhibit 1.

          12.     During the Project, Steel Huggers repeatedly failed to comply with its subcontract
  by performing substandard and incomplete work, and being late in its performance, which posed
  significant risk of delay to Zocalo’s contract requirements with the property owner.

          13.    Specifically, Steel Huggers failed to install roof ladders, mechanical screen posts,
  columns, canopy decking, retaining wall guardrails, and stair grab rails on multiple buildings in
  the Project before it abandoned its work.

         14.    Additionally, Steel Huggers column baseplate for building #7 failed inspection and
  required remediation, and its installed guardrails and grabrails for building #10 required repair.



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         15.    Steel Huggers also billed for and was paid at least $167,173.46 for materials by
  Zocalo that never arrived on site, requiring Zocalo to pay others to procure, fabricate, and install
  replacement materials.

  Notice, Termination, and Lack of Communication

         16.    On or around July 10, 2023, Zocalo called Kathleen Maloney, the director of surety
  claims at Frankenmuth, to notify Frankenmuth about Steel Huggers’ deficient work and that
  Zocalo was considering declaring a default and terminating Steel Huggers’ subcontract. After a
  conversation with Ms. Maloney, Steel Huggers' work did not improve.

         17.    On or around August 23, 2023, Zocalo again called Kathleen Maloney to notify
  Frankenmuth about Steel Huggers’ ongoing deficient work and that Zocalo may pursue a default
  and termination of Steel Huggers’ subcontract. Again, after that discussion with Ms. Maloney,
  Steel Huggers’ work did not improve.

         18.      Furthermore, after a discussion with Zocalo, the insurance agent that wrote the
  bonds for Frankenmuth, Doug Rothey of Surescapes Insurance, wrote an email to Ford Rogers at
  Frankenmuth on October 6, 2023 declaring that Frankenmuth may have a liability to consider in
  Steel Huggers performance on Weathervane. Despite these early notifications demanding
  Frankenmuth take action, request a conference and demand Steel Huggers perform, Frankenmuth
  did nothing to investigate or mitigate the damages that would occur from Steel Huggers failure to
  perform.

          19.     With Steel Huggers still failing to comply with its contract performance, Zocalo
  sent Steel Huggers and Frankenmuth a “Notice to Effect Cure” on October 11, 2023 in which
  Zocalo demanded that Steel Huggers cure its deficient and incomplete performance or risk having
  its contract terminated. A true and accurate copy of the Notice to Effect Cure is attached hereto as
  Exhibit 2.

          20.    Steel Huggers failed to cure the deficiencies and incomplete work noted in the
  Notice to Effect Cure and, as a result, Zocalo terminated the Steel Huggers’ subcontract on October
  24, 2023. A true and accurate copy of the termination letter is attached as Exhibit 3.

         21.    Despite terminating Steel Huggers, Zocalo continued to work with Frankenmuth
  and Steel Huggers to get Steel Huggers’ work on the Project completed.

        22.     Specifically, this included a phone conference with Steel Huggers and
  Frankenmuth on October 27, 2024 to discuss Steel Huggers performance and getting its work
  completed on the Project. As a follow up, Zocalo also sent a November 8, 2023 email to Steel
  Huggers and Frankenmuth, which provided a list of unfinished work and asked for estimated
  completion dates.



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       23.     Zocalo never received a response from Steel Huggers or Frankenmuth regarding its
  November 8, 2023 email.

         24.   As a result, on November 13, 2023, Zocalo emailed Kathleen Maloney at
  Frankenmuth noting that there were no Steel Huggers’ personnel on site and that Zocalo had not
  received a response from Steel Huggers regarding the incomplete work. Zocalo asked
  Frankenmuth for authorization to solicit other steel vendors to complete the work.

          25.   On November 15, 2023, Frankenmuth authorized Zocalo to obtain quotes on the
  items remaining for the Steel Huggers’ subcontract.

        26.    Zocalo responded by sending multiple cost proposals and requests to proceed to
  Frankenmuth on November 13th, 15th, 22nd, 29th and December 5th and 13th, 2023.

          27.   On November 16, 2023, Frankenmuth emailed Zocalo to approve the costs for
  finishing some of the building 10 steel work, which was only one of the cost proposals.

        28.    Frankenmuth failed to respond to Zocalo’s other cost proposals to finish other
  incomplete work for the still ongoing Project.

         29.    On or around November 20, 2023, Zocalo received notice that Steel Huggers filed
  for Chapter 11 Bankruptcy in the United States Bankruptcy Court for the District of Colorado,
  case no. 23-15295-TBM, and Zocalo advised Frankenmuth of the same.

          30.    On December 1, 2023, Ms. Maloney emailed Cory Wight at Zocalo advising that
  she was not aware of the Steel Huggers’ bankruptcy, but mistakenly indicated that “it calls into
  the question Zocalo’s ability to default [Steel Huggers] on the contract.” Moreover, Ms. Maloney
  appeared not to understand Frankenmuth’s obligations under the Performance Bond and stopped
  responding to Frankenmuth’s claim inquiries. Ms. Maloney also indicated that Frankenmuth had
  retained counsel, Ed Rubacha, with respect to the bankruptcy issue.

          31.     On December 29, 2023, Zocalo emailed Kathleen Maloney regarding the claim
  status, but did not receive a response.

          32.    On February 9, 2024, Zocalo again emailed Kathleen Maloney requesting a status
  of the claim, but it received a bounce back email that Kathleen Maloney had left the company.

         33.     In response to the bounce back email, Zocalo sent an email to Joseph Ruch, Vice
  President at Frankenmuth, requesting a new contact for the claim, but Zocalo did not receive a
  response.

         34.     On February 13, 2024, Zocalo again emailed and left a voicemail for Joseph Ruch
  requesting a new contact on the claim but, again, Zocalo received no response.


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        35.    Seven months elapsed and Zocalo received no communication from anyone at
  Frankenmuth.

          36.     During the time from October 2023 until Substantial Completion of the project in
  September 2024, Zocalo was under extreme pressure to cure delays caused by Steel Huggers’
  default. Specifically, Zocalo needed to prevent a loan default looming on October 1, 2024 by the
  Lender, which would have had catastrophic consequences to the property owner and Zocalo. As a
  result, Zocalo expended considerable time, resources and staff to finish Steel Huggers’ work prior
  to the loan default deadline, with no cooperation or assistance from Frankenmuth.

          37.     On September 27, 2024, Zocalo attempted again to seek information regarding its
  claim by emailing Joseph Ruch and, this time, it also included Ed Rubacha. Zocalo was finally
  able to set a call with Mr. Rubacha on October 1, 2024.

  Improper Denial of the Claim

          38.    Following the call with Mr. Rubacha, Zocalo issued a Notice of Surety Obligation
  to Frankenmuth on October 4, 2024 advising Frankenmuth of the costs incurred by Zocalo between
  November 13, 2023 and September 27, 2024 to complete Steel Huggers’ work on the Project with
  replacement subcontractor Powdercoating & Welding Works, Inc. (“Powdercoating”). Zocalo
  previously notified Frankenmuth on October 31, 2023 that it may use Powdercoating to complete
  the steel work. The notice requested reimbursement in the amount of $629,667 and included
  supporting documentation. A true and accurate copy of the notice is attached as Exhibit 4.

          39.    On January 14, 2025, Zocalo sent Frankenmuth a letter advising that Zocalo still
  had not received payment and asserting that Frankenmuth was unreasonably delaying payment of
  the claim. A true and accurate copy of the letter is attached as Exhibit 5.

          40.     Frankenmuth responded to the letter on January 29, 2025 offering to pay a small
  portion of the claim as a full and final resolution of the entire claim (the “Declination Letter”). The
  Declination Letter purported to cite provisions of the Performance Bond that required Zocalo to
  provide “reasonable notice” to Frankenmuth of Steel Huggers’ deficient performance prior to
  terminating Steel Huggers and retaining a replacement subcontractor. The letter effectively denied
  $516,664 of Zocalo’s claim, while recognizing the validity of $113,004 of the claim. A true and
  correct copy of the letter and the improper contract relied upon by Frankenmuth are attached as
  Exhibit 6.

          41.     However, the “reasonable notice” provisions cited in Frankenmuth’s Declination
  Letter are not from the Performance Bond. Instead, they are provisions taken from an unrelated
  and unexecuted contract and, as a result, do not govern. Moreover, the terms of the unexecuted
  contract, relied upon by Frankenmuth, also contain different terms. The terms relied upon by
  Frankenmuth in its Declination Letter are, as follows:



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         42.      However, the pertinent notice provisions of the executed Performance Bond
  provide, as follows:




           Ex. 1 at p. 2.

          43.    The substantive difference between the two contracts is that the executed and
  controlling Performance Bond requires Frankenmuth to show that it did not receive adequate
  notice and that the lack of notice resulted in actual prejudice. The unexecuted contract does not
  mention a showing of prejudice.

          44.    Following the Declination Letter, Zocalo retained its own counsel and demanded
  full payment of its claim via letter on February 5, 2025. However, Frankenmuth continued to deny
  the claim based on an improper reliance on the unrelated and unexecuted bond contract.

         45.     On March 10, 2025, the fact that Frankenmuth was relying on the incorrect contract
  was brought to its attention.

        46.     On March 26, 2025, Frankenmuth’s counsel admitted it had been relying on the
  wrong contract to deny Zocalo’s claim.

          47.    Despite this, Frankenmuth continues to deny Zocalo’s claim on the basis that it did
  not receive adequate notice without any explanation for how Frankenmuth was actually prejudiced
  by any alleged lack of notice.

         48.    Moreover, Zocalo complied with the notice requirements of the executed
  Performance Bond because Zocalo first notified Ms. Maloney at Frankenmuth on July 10, 2023
  that Zocalo was considering a declaration of default of Steel Huggers. Between July and November
  2023, Zocalo and the bonding insurance agent, Surescapes, engaged in numerous phone calls and
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  sent multiple emails to Frankenmuth to discuss and attempt to remedy Steel Huggers’
  performance. During this timeframe, Frankenmuth was not only not prejudiced, but also neglected
  or refused to take actions that could mitigate damages to Frankenmuth and Zocalo.

         49.     Given the above, Frankenmuth has engaged in conduct that is in violation of
  Colorado’s Unfair Method of Competition – Unfair or Deceptive Practices Act, C.R.S. § 10-3-
  1104(h), in the following non-exhaustive ways:

           a.       Misrepresenting pertinent insurance policy provisions relating to coverages
                    at issue by relying on an unrelated and unexecuted bond contract.

           b.       Failing to acknowledge and act reasonably promptly upon communications
                    with respect to this Performance Bond claim by failing to respond to Zocalo
                    after Zocalo repeatedly sought information on the claim in late 2023 and
                    2024.

           c.       Refusing to pay claims without conducting a reasonable investigation based
                    upon all available information by ignoring documentation and
                    communications submitted to it by Zocalo that supports Zocalo’s claim.

           d.       Failing to affirm or deny coverage of claims within a reasonable time after
                    proof of loss statements have been completed by ignoring Zocalo’s attempts
                    to coordinate and communicate on the claim in late 2023 and throughout
                    2024.

           e.       Not attempting in good faith to effectuate prompt, fair, and equitable
                    settlements of the claim in which liability has become reasonably clear by
                    refusing to pay a valid and complete Performance Bond claim for a
                    subcontractor that went into bankruptcy during the Project and yet the claim
                    has been ongoing for over a year and a half;

           f.       Compelling Zocalo to institute this litigation to recover amounts due under
                    the Performance Bond by offering substantially less than the benefit that is
                    reasonably owed to Zocalo.

                                            COUNT I
                                      (BREACH OF CONTRACT)

           50.      Zocalo incorporates all preceding paragraphs as if fully set forth herein.

          51.    The Performance Bond is a valid and enforceable contract that names Zocalo as a
  third-party beneficiary and guarantees Steel Huggers’ performance under the subcontract.



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         52.     Frankenmuth breached the Performance Bond by failing to pay Zocalo’s complete
  and valid claim after Steel Huggers failed to substantially perform its scope of work.

           53.      Zocalo substantially performed its obligations under the Performance Bond.

         54.    Zocalo has suffered damages in an amount to be proven at trial as a result of
  Zocalo’s breach, including the full value of its valid and complete claim.

                                          COUNT II
                                    (COMMON LAW BAD FAITH)

           55.      Zocalo incorporates all preceding paragraphs as if fully set forth herein.

         56.     Pursuant to the holding in Transamerica Premier Ins. Co. v. Brighton Sch. Dist.
  27J, 940 P.2d 348 (Colo. 1997), Frankenmuth, as a surety, is subject to a common law bad faith
  breach of insurance contract claim.

         57.    Zocalo suffered losses when Frankenmuth failed to perform its obligations under
  the Performance Bond by failing to pay Zocalo’s complete and valid claim, which was based on
  Steel Huggers’ failure to substantially perform its scope of work on the Project.

         58.     Frankenmuth acted unreasonably when it failed to pay Zocalo’s complete and valid
  claim under the Performance Bond.

         59.   Frankenmuth knew or recklessly disregarded that its delay and/or denial under the
  Performance Bond was unreasonable.

           60.      Frankenmuth’s unreasonable conduct was a cause of Plaintiff’s losses.

          61.     As a result, Plaintiff is entitled to recover the full value of its valid and complete
  claim, interest, costs, and reasonable attorneys’ fees.

                                     COUNT III
                   (STATUTORY CLAIM UNDER C.R.S. §§ 10-3-1115, 10-3-1116)

           62.      Zocalo incorporates all preceding paragraphs as if fully set forth herein.

         63.   Pursuant to C.R.S. § 10-3-1102(2), Frankenmuth, as a surety, is subject to
  Colorado’s Unfair Competition – Deceptive Practices Act.

         64.    Despite being subject to the Act, Frankenmuth denied and/or delayed payment of
  covered benefits to Zocalo under the Performance Bond.



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          65.     Specifically, Frankenmuth unreasonably delayed paying benefits to Zocalo by
  failing to respond to Zocalo’s claim inquiries for months from the end of 2023 until September
  2024, while the Project was ongoing.

          66.      Frankenmuth also unreasonably delayed paying benefits under State Farm Mut. Auto.
  Ins. Co. v. Fisher, 418 P.3d 501 (Colo. 2018) because, by Frankenmuth’s own admission, $113,004 was
  reasonably owed to Zocalo in January 2025. Yet, Frankenmuth refused to tender this undisputed amount to
  Zocalo.

           67.    Frankenmuth also unreasonably denied paying benefits to Zocalo by relying on the terms
  of the wrong bond contract to deny Zocalo’s claim, while at the same time failing to comply with the terms
  of the executed Performance Bond.

         68.   Thus, Frankenmuth’s denial and/or delay of payment of covered benefits under the
  Performance Bond was without a reasonable basis.

          69.    As a result, Zocalo is entitled to its covered benefit, plus two times the covered
  benefit unreasonably delayed or denied, and its reasonable attorneys’ fees and costs.

         WHEREFORE, Zocalo respectfully requests the Court enter an order granting it the
  following relief:

        A.      Award monetary damages against Frankenmuth and in favor of Zocalo in an
  amount to be proven at trial.

        B.          Award Zocalo its reasonable attorneys' fees, costs, disbursements and other
  amounts.

           C.       Award pre- and post-judgment interest as allowed by law.

           D.       Award such other relief as the Court deems just and proper.




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          PLAINTIFF HEREBY DEMANDS A JURY ON ALL ISSUES SO TRIABLE.


  Respectfully submitted this 28th day of April, 2025.
                                                STINSON LLP

                                                s/ Alex J. Gunning
                                                Ryan M. Sugden, Atty. Reg. No. 49499
                                                Alex J. Gunning, Atty. Reg. No. 50323

                                                Attorneys for Plaintiff Zocalo Construction, LLC

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